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                                                                                    E-FILED
                                                    Friday, 17 September, 2021 02:04:53 PM
                                                                Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISON

UNITED STATES OF AMERICA                 )
                                         )
                  Plaintiff,             )
                                         )
             v.                          )      Crim. No. 21-CR-30032
                                         )
JEREMY BANKS,                            )
                                         )
                  Defendant.             )

   UNITED STATES’ SUPPLEMENTAL BRIEF IN RESPONSE TO
           DEFENDANT’S MOTION TO SUPPRESS

     The United States of America by Douglas J. Quivey, Acting

United States Attorney for the Central District of Illinois, and

Assistant United States Attorney Sarah E. Seberger, hereby

supplements its previously filed response in opposition to the

defendant’s motion to suppress evidence to add the following:

                               Background

     On May 10, 2021, the defendant appeared for arraignment on a

one-count indictment charging unlawful possession of a firearm by a

convicted felon. The defendant was detained pending the outcome of

this case.



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     On July 29, 2021, the defendant filed a motion to suppress

evidence. (d/e 20) The defendant argues that the Springfield Police

Department conducted an illegal warrantless search of his home

when they walked up to him as he stood outside on his front porch.

The defendant claims police officers cannot walk onto a person’s

property to arrest and/or detain them when they can see the person

standing outside the home.

     On September 1, 2021, the Court held an evidentiary hearing in

this matter where the government presented evidence by way of

testimony from Springfield Police Department Officers Colton

Redding, John Vonbehren, and Justin Spaid. The government

admitted six exhibits consisting of a recording and a still photo from

the defendant’s Snapchat video, and recordings and still

photographs from body worn camera footage.

     Springfield Police Department officers had probable cause to

arrest the defendant and reasonable suspicion to conduct a Terry

stop of the defendant. Because the defendant was in full view to the

public by standing outside his home on the porch, the Springfield

Police department was able to walk up to the defendant to detain

and arrest him. The subsequent entry and search of the defendant’s

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home was not illegal but caused by the exigent circumstances

created by the defendant when he chose to resist commands and try

to flee inside his residence.

                                 Facts

     On April 8, 2021, Officer Colton Redding of the Springfield

Police Department Street Crimes Unit was using the social media

application Snapchat to conduct investigations into illegal weapons

and narcotics offenses. Officer Redding came across a video of a

semi-automatic handgun laying on the edge of a grill. Officer

Redding knew the account that posted the video to belong to Jeremy

Banks. Officer Redding identified Banks as the owner based on posts

of “selfies” or photos taken by the person holding the phone and

because the Snapchat account information was posted on Banks’

Facebook account.

     Officer Redding observed the video approximately six minutes

after it was posted to Banks’ story. The video did not indicate it came

from the cameral roll. Officer Redding recognized the voice in the

video as that of Jeremy Banks. Officer Redding was familiar with

Banks’ voice from previous in-person interactions and from

monitoring Banks’ account for the proceeding two months.

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     Officers knew the residence of Jeremy Banks from department

records as 1716 Matheny Avenue, Springfield, Illinois. A group of

Springfield Police Department officers then drove by the residence to

confirm the location seen on the video. Officer VonBehren had also

seen the video and as he drove by the defendant’s house recognized

the location from the video. Further, VonBehren observed Banks

outside his home grilling on the porch. Officer VonBehren noticed

that Banks was watching the truck containing the officers as Banks

continued to stand on his front porch.

     Sergeant Justin Spaid then led a group of officers from the back

of the residence to the front door to detain Banks. According to the

testimony of Officer Redding, the time from when the video was

posted to when officers approached Mr. Banks’ house was

approximately 16 minutes. Banks did not notice the officers

approaching his residence. Sgt. Spaid then identified himself by

saying “Springfield Police.” Banks was surprised and immediately

turned to flee into his residence. Sgt. Spaid and others instructed

Banks to not go inside the residence and to not reach for anything.

Sgt. Spaid and other officers made physical contact with Banks to

prevent his flight well before the door to the residence was ever

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opened by Banks. However, Banks was able to get his door open and

move inside. Officers had continued their attempt to detain Banks

and were ultimately able to subdue Banks inside his residence. Sgt.

Spaid then conducted a frisk of Banks and felt a firearm. As Sgt.

Spaid performed the frisk, Banks stated “yeah I got a gun on me.”

Other officers moved through the house in a protective sweep to

check for any other armed persons, while doing so they observed in

plain view a box of 9mm ammunition in the living room, and a single

9mm bullet on the floor of an upstairs bedroom. Subsequently

officers discussed obtaining a search warrant for the house in light

of additional contraband found inside. Ultimately, officers were given

consent to search the residence by both Banks and his roommate

and did not find further contraband.

                              Argument

Officers did not commit a Fourth Amendment violation by walking
up to the Defendant’s front porch

     Police Officers are not required by the Constitution to ignore a

person committing a crime because the person is standing on his

front porch. See California v. Ciraolo, 476 U.S. 207, 213 (1986) (“The

Fourth Amendment protection of the home has never been extended


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to require law enforcement officers to shield their eyes when passing

by a home on public thoroughfares.”) Banks shared his gun

possession with his followers on Snapchat, which included members

of law enforcement, then when law enforcement drove down a public

roadway, they could clearly see the defendant outside his home. The

law does not require officers to ignore the danger posed by the

defendant’s illegal firearm possession because he is standing on his

porch rather than the sidewalk.

     Further, officers needed to act quicky to secure the defendant

to both ensure public safety and prevent the defendant from hiding

or altering evidence. Sgt. Spaid testified at the hearing about a past

incident when he had not detained a suspect before obtaining a

warrant, the subject was able to hide a firearm so thoroughly that

law enforcement was then unable to locate the weapon after securing

the warrant.

     The circumstances of this case are very similar to a case from

the Northern District of Illinois, U.S. v. Luckey. 515 F. Supp. 3d 870,

877 (N.D. Ill. 2021). Troopers with the Illinois State Police were

reviewing publicly accessible Snapchat videos that were being posted

from the area where they were assigned to patrol. Id. They observed a

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video of a man with a firearm. Id. That same man then posted a

video of him smoking what appeared to the Troopers to be a

marijuana “blunt” or cigarette. Id. Troopers had no information on

the identity of the man and thus did not know if he had a concealed

carry permit or if he was a felon. Id. Geolocation data from the video

led officers to an area in Hazel Crest, Illinois. Id. Upon arriving in the

area a Trooper saw the man depicted in the video in the front yard of

a house. Id. Troopers approached the man who then pulled the gun

out of his waistband and tossed it into a nearby car. Id. Officers

then detained the defendant, secured the weapon, and determined

the defendant did not have any firearms license and that he was a

convicted felon. Id.

     Defendant Luckey challenged the Terry stop conducted in what

turned out to be the driveway of his girlfriend’s home. Id. While the

main issue was the fact the defendant didn’t have an expectation of

privacy at his girlfriend’s residence, the Northern District noted that

the Fourth Amendment allows justified Terry stops on the curtilage

of someone’s home. Id. at 877. The Northern District also determined

that based on all the information known to the Troopers that there

was reasonable suspicion to conduct a Terry stop. Id. at 878.

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     While the circumstances of Mr. Banks’ arrest are very similar to

that of Defendant Luckey, in this case Springfield Police Department

officers had even more information – they knew Banks and knew his

status as a felon which meant he was in fact committing a crime on

his front porch by possessing the weapon.

                          Respectfully Submitted,

                          DOUGLAS J. QUIVEY
                          ACTING UNITED STATES ATTORNEY

                          /s/ Sarah E. Seberger
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                       CERTIFICATE OF SERVICE

     I hereby certify that on September 17, 2021, I caused the

foregoing to be electronically filed with the Clerk of the Court using

the CM/ECF system, which will send notification of such filing to the

following counsel of record.

                                /s/ Sarah E. Seberger
                                Sarah E. Seberger
                                Assistant United States Attorney
                                United States Attorney’s Office




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